Case 23-90085 Document 1594-5 Filed in TXSB on 11/27/23 Page 1 of 3




                              EXHIBIT E
            Emails Regarding the Board’s Waiver of Privilege
                                                                                                                                                                   Case 23-90085 Document 1594-5 Filed in TXSB on 11/27/23 Page 2 of 3




From:                                                                                                                                                                                                                                               Caroline.Reckler@lw.com
Sent:                                                                                                                                                                                                                                               Sunday, November 12, 2023 10:19 PM
To:                                                                                                                                                                                                                                                 justinrawlins@paulhastings.com; Andrew K. Glenn
Cc:                                                                                                                                                                                                                                                 GABF Sorrento Team; mmeghji@m3-partners.com; Amy.Quartarolo@lw.com;
                                                                                                                                                                                                                                                    CHRISTOPHER.HARRIS@lw.com; Steve.Feldman@lw.com
Subject:                                                                                                                                                                                                                                            RE: Sorrento—Imvestigation of Latham




[EXTERNAL EMAIL] This email originated from outside of the organization. Do not click links or open attachments unless you
recognize the sender and know the content is safe.




Andrew, as you know my firm represents Henry as the Sorrento CEO and our directors in those roles in the Sorrento
bankruptcy. It is an ethical violation for you to contact our clients, and we will raise it with the court if you do so again.




From: Rawlins, Justin <justinrawlins@paulhastings.com>
Date: Sunday, Nov 12, 2023 at 9:32 PM
To: Andrew K. Glenn <aglenn@glennagre.com>, Henry Ji <hji@sorrentotherapeutics.com>
Cc: GABF Sorrento Team <gabfsorrentoteam@glennagre.com>, Dan Vellon <dvellon@seaportglobal.com>, Rebwar Berzinji
<RBerzinji@seaportglobal.com>, Sorrento Equity Committee <sorrentoequitycommittee@glennagre.com>, mmeghji@m3-
partners.com <mmeghji@m3-partners.com>, Reckler, Caroline (CH-NY) <Caroline.Reckler@lw.com>
Subject: RE: Sorrento—Imvestigation of Latham

Andrew,

The board designated Mo with the power to run the Sorrento bankruptcy cases and Mo has been doing so, so I’m
copying Mo and Caroline as this privilege question should involve Mo. We also believe that it would be improper for the
board to seek to override Mo with respect to waiver of the attorney client privilege. Even if the board were the sole
party involved with respect to waiver of the privilege, we also do not believe the board would do so.

Best,
Justin

From: Andrew K. Glenn <aglenn@glennagre.com>
Sent: Saturday, November 11, 2023 6:40 PM
To: Henry Ji <hji@sorrentotherapeutics.com>; Rawlins, Justin <justinrawlins@paulhastings.com>
Cc: GABF Sorrento Team <gabfsorrentoteam@glennagre.com>; Dan Vellon <dvellon@seaportglobal.com>; Rebwar
Berzinji <RBerzinji@seaportglobal.com>; Sorrento Equity Committee <sorrentoequitycommittee@glennagre.com>
Subject: [EXT] Sorrento—Imvestigation of Latham
Henry, We have been investigating Latham, its fees, and its relations hip with Liz Freeman, who is now been disclosed to be Judge Jo nes‘s lover. We noted that there are time entries on Latham’s fee application including Liz, Freeman, and we
ZjQcmQRY FpfptBannerStart




                          --- External Email ---

ZjQcmQRY FpfptBannerEnd




                                                                                                                                                                                                                                                                          1
                 Case 23-90085 Document 1594-5 Filed in TXSB on 11/27/23 Page 3 of 3

Henry,

We have been investigating Latham, its fees, and its relationship with Liz Freeman, who is now been
disclosed to be Judge Jones‘s lover.

We noted that there are time entries on Latham’s fee application including Liz, Freeman, and we have
issued discovery request to Latham, and the other professionals to produce all communications and
documents relating to Liz Freeman, who has no apparent role in this case.

We hereby request that the Board of Directors of Sorrento waive any privileges relating to any
communications with a Liz Freeman, so that we can all see those communications, including text
messages, and determine whether there was any inappropriate conduct relating to Judge Jones.

We asked that you convene a board meeting on Monday to memorialize this waiver.

Thank you very much.

________________________________

******************************Important Notice ******************************
This email and any files transmitted with it are confidential and may be subject to the attorney-client
or other privileges. Use or disclosure of this email or any such files by anyone other than the intended
recipient is prohibited. If you are not the intended recipient, please notify the sender immediately and
delete this message from your system.


******************************************************************************************
This message is sent by a law firm and may contain information that is privileged or confidential. If you received
this transmission in error, please notify the sender by reply e-mail and delete the message and any attachments.
If you reply to this message, Paul Hastings may collect personal information including your name, business name
and other contact details, and IP address. For more information about Paul Hastings’ information collection, privacy
and security principles please click HERE. If you have any questions, please contact Privacy@paulhastings.com.


_________________________________

This email may contain material that is confidential, privileged and/or attorney work product for the sole use of the
intended recipient. Any review, disclosure, reliance or distribution by others or forwarding without express permission
is strictly prohibited. If you are not the intended recipient, please contact the sender and delete all copies including any
attachments.

Latham & Watkins LLP or any of its affiliates may monitor electronic communications sent or received by our networks
in order to protect our business and verify compliance with our policies and relevant legal requirements. Any personal
information contained or referred to within this electronic communication will be processed in accordance with the
firm's privacy notices and Global Privacy Standards available at www.lw.com.




                                                                       2
